
In re Francis, Nicole E.; —Plaintiff; Applying for Permission to Take Bar Examination.
ORDER
Considering the request of petitioner, Nicole E. Francis, to submit an application to sit for the July 2002 Louisiana bar examination,
IT IS HEREBY ORDERED that within ten days of the date of this order, petitioner shall be permitted to submit an application to sit for the July 2002 Louisiana bar examination, but petitioner shall not be eligible for admission to the practice of law in Louisiana until she complies with all requisites for admission set forth in Supreme Court Rule XVII, § 3.
/s/ Pascal F. Calogero, Jr.
Justice, Supreme Court of Louisiana
